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Enclno CA 91436

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Fax: (81 )382-4001

Attorne s for Plaintiff,
CHRIS OPHER GORDON

2:15-CV-O4905-.]FW-PLA Document 1 Filed 06/30/15 Page 1 of 19 Page |D #:1

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CHRISTOPHER GORDON, an
individual,

Plaintiff,
vs.

DRAPE_CREATIYE, INC., a
Mlssoun co oratlon;
PAPYRUS- CYCLED
GREET[NGS, INC. an Illinois
go oljatlon; and DCSES 1 to 10,
mc uslve,

Defendants.

 

 

CASE NO.
COMPLAINT FOR:

l. TRADEMARK

INFRINGEMENT [15 U.S.C.
1114 et se . ;

2. RADE _ _
INFRINGEMENT LCallfornla law];

3. FEDERAL UNFAI
COMPETITION AND FALSE
DESIGNATION OF ORIGIN [15
U.S.C. 1125§}¥ and

4. UNFA _CO ETITION
[Callfomla law]

DEMAND FOR JURY TRIAL

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

Case "2:15-cv-O4905-.]FW-PLA Document 1 Filed 06/30/15 Page 2 of 19 Page |D #:2

1 Plaintiff CHRISTOPHER GORDON (“Plaintiff’) alleges as follows:
2 INTRODUCTION

3 Plaintiff is a comedic narrator who, on January 18, 2011, published a video

on YouTube that consisted of his original narration humorously describing the

Shit”, among others. Plaintiffs original expressions have gained a tremendous

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amount of notoriety, and his expressions have been referred to in commercials,
10 television shows, magazines, and throughout the internet, and by numerous
ll celebrities. Plaintiff copyrighted his narration and trademarked “HONEY

12 BADGER DON’T CARE” under four separate registration numbers for various

traits of a honey badger. The video went “viral” and has generated more than 74
million views on YouTube. In the video, Plaintiff’s original expressions and jokes

include the phrases “Honey Badger Don't Care,” and “Honey Badger Don’t Give a

13 classes of goods, including, inter alia, t-shirts, audio books, computer application

14 software and plush toys. Plaintiff has also produced, advertised, and sold

15 merchandise, including greeting cards, bearing his expressions and trademarks of

16 “Honey Badger Don’t Care” and “Honey Badger Don’t Give a Shit” since soon

17 after the video was published, and he continues to sell and license greeting cards

18 bearing his expressions and marks today.

19 Upon information and belief, Defendant Drape Creative, Inc. and Defendant

20 Papyrus~Recycled Greetings, Inc. collaborated to manufacture, distribute, sell and

21 advertise several different greeting cards that copied Plaintiff‘s expression and

22 trademark, “Honey Badger Don’t Give a Shit.” Defendants’ unauthorized sales of

23 greeting cards bearing Plaintiff’s trademark and expressions, coupled with their

24 intentional deceptive business practices to create customer confusion, which

25 actually happened here, constitute, inter alia, willful trademark infringement and

26 unfair competition
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COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

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2:15-cv-O4905-.]FW-PLA Document 1 Filed 06/30/15 Page 3 of 19 Page |D #:3

JURISDICTION AND VENUE

1. This is a civil action arising under the Trademark Laws of the United
States, 15 U.S.C. §§105 1, et seq. This Court has subject matter jurisdiction
pursuant to 28 U.S.C. §§1331 and 1338.

2. This Court has supplemental jurisdiction over the claims in this
Complaint that arise under California law pursuant to 28 U.S.C. §l367(a) because
the state law claims are so related to the federal claims that they form part of the
same case or controversy and derive ii'om a common nucleus of operative facts.

3. Venue is proper in this Court pursuant to 28 U.S.C. §§139l(b) and
l400(a). At all times relevant hereto, Plaintiff has been a resident of Los Angeles,
California. The infringing products which are the subject of this litigation have
been distributed and offered for distribution in the Central District of California,
and the Defendants transact business in the Central District of California.
Defendants have extensive contacts with, and conduct business within, this
District; have placed products into the stream of commerce in this District; and
have caused tortious injury to Plaintiff in this District.

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4. Plaintiff is an individual residing in Los Angeles, California.

5. Plaintiff is informed and believes, and thereon alleges, that Defendant
Drape Creative, Inc. (“DCI”) is a Missouri corporation that is subject to the
jurisdiction of this Court. DCI, which does business as Tomato Cards, designs
greeting cards and conducts its business on the internet at dcistudios.com.

6. Plaintiff is informed and believes, and thereon alleges, that Defendant
Papyrus-Recycled Greetings, Inc. (“Recycled Greetings”) is an Illinois corporation
that is subject to the jurisdiction of this Court. Recycled Greetings produces and

sells greeting cards and conducts its business on the intemet at prgreetings.com.

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

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7. According to its website, DCI is “[k]nown for their clever humor and
depth of design” and more than 20,000,000 of their cards are sold annually,
making DCI the “largest contributor” to Defendant Recycled Greetings. Plaintiff
is informed and believes, and thereon alleges, that Defendant DCI and Defendant
Recycled Greetings (collectively, “Defendants”) authorized, directed, participated
in, contributed to, ratified, and.for accepted the benefits of the wrongful acts as
alleged herein.

8. The true names and capacities, whether individual, corporate,
associate or otherwise of defendants DOES l through 10, inclusive, are unknown
to Plaintiff who therefore sues said defendants by such fictitious names. Plaintiff
is informed and believes and based thereon alleges that each of the fictitiously
named defendants is responsible in some manner for the events, acts, occurrences
and liabilities alleged and referred to herein. Plaintiff will seek leave to amend this
Complaint to allege the true names and capacities of these DOE defendants when
the same are ascertained

SUBSTANTIVE ALLEGATIONS
Plaintiff and His Video, Copyright, aml Trademark

9. Plaintiff is a comedian, narrator, writer, and actor, and is commonly
known by his alias, “Randall.”

10. On January 18, 2011, Plaintiff published a video (the “Video”) on
YouTube that consisted of his original narration humorously describing the traits
of a honey badger.l The Video, titled T he Crazy Nasryass Honey Badger (originol
narration by Rondall), became an instant hit. The Video went “viral” and is one
of the most popular videos ever uploaded onto YouTube. To date, the Video has

generated more than 74 million views on YouTube. The Video and subsequent

 

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

Case "2:15-cv-O4905-.]FW-PLA Document 1 Filed 06/30/15 Page 5 of 19 Page |D #:5

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phenomenon have been covered by internet blogs such as the Hrgj‘ington Post
(which proclaimed “Honey Badger Don’t Care [as] the best nature video of all
time”) as well as by entertainment and news outlets from Forbes to the New York
Observer to TMZ.

ll. In the Video, among Plaintiff’s original expressions and jokes are that
the “HONEY BADGER DON’T CARE” and the “HONEY BADGER DON’T
GIVE A SHIT.” Plaintiff`s original expressions (and others contained in the
Video) have gained a tremendous amount of notoriety, and his expressions have
been referred to in commercials, television shows, magazines, and throughout the
internet.

12. Plaintiff is the owner of trademark registrations for HONEY
BADGER DON’T CARE (the “Mark”). Plaintiff registered the Mark with the
United States Patent and Trademark Office for various classes of goods under the
following Registration Numbers: 4,505,781; 4,419,079; 4,419,081; and
4,281,472. Attached hereto as Exhibit A are true and correct copies of the
Trademark Registrations.

13. After the Video was published, Plaintiff produced and sold goods,
including, inter alia, t-shirts, sweatshirts, bumper stickers, hats, mugs and plush
dolls that displayed his Mark and expressions Plaintiff has also selectively
licensed his intellectual property rights to third parties in order to monetize the
profitability of his Marks.

14. Specifically, Plaintiff also produced and sold greeting cards and
postcards that displayed both his trademarks and expressions of “Honey Badger
Don’t Care” and “Honey Badger Don’t Give a Shit,” and Plaintiff continues to sell

such greeting cards and postcards today.

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

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:15-cV-O4905-.]FW-PLA Document 1 Filed 06/30/15 Page 6 of 19 Page |D #:6

15. Plaintiff primarily advertises his goods bearing his Mark, including
greeting cards, on the internet. Sales of Plaintiff‘s merchandise bearing his Mark
have been substantial, with a majority of the sales occurring via the intemet.

16. Plaintiff‘s trademark is inherently distinctive auditor has acquired
secondary meaning as to the source of all products advertised, marketed, sold, or
used in connection with his trademark and derivations thereof. The Mark and its
derivations are instantly recognizable as being associated with Plaintiff (i.e.
Randall). The Mark andr'or its derivations have appeared in Plaintiff' s Video, and
have since been displayed on numerous advertisements and goods that Plaintiff
promotes Plaintiff even authored a book titled Honey Badger Don ’t Care.'
Rcmdall's Guide to Crazy Nastyass Animals, and launched a mobile “app” titled
T he Honey Badger Don 't Care.

17. Plaintiff has expended a significant amount of time and effort in
making his Mark well-known to the public. Plaintiff has promoted his Mark by,
inter alia, advertising it in connection with his products, making guest
appearances in media outlets, and publicizing the Mark through social media
platforms.

18. As a result of the foregoing, including, but not limited to, the
extensive advertisements, promotions, sales, and enormous popularity of the
Mark, the public has come to exclusively identify the Mark and its derivations
with Plaintiff, Among other things, Plaintiff, his expressions, and/or his Mark
have appeared or been alluded to in a Wonderful Pistachios commercial during
Dancing with the Stars, in an episode of the popular television show America 'S
Got Talent, in an episode of the hit television series Glee by the show’s famous
cheerleading coach Sue Sylvester (Jane Lynch), in a Vogr¢e profile of celebrity

recording artist Taylor Swift, and on the Howard Srern radio show (Baba Booey).

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

Case li:15-cv-O4905-.]FW-PLA Document 1 Filed 06/30/15 Page 7 of 19 Page |D #:7

1 Plaintiff’ s expressions and Mark are famous and distinctive under applicable law,

2 including within the meaning of 15 U.S.C. §§ 1125(c)(1) and 1127.
3 Defendants’ Unlawful Acrivitles and Willful Infringement

greeting cards.

bore: Plaintiff’s expressions that were copied verbatim from Plaintift’s Video;

derivations of Plaintiff’s Mark; and phrases confusineg similar to Plaintiff's

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Mark. For instance, Defendants sold multiple variations of greeting cards that

10 stated, “Honey Badger don’t give a shit,” a clear reference to, and improper use

19. Defendants are competitors of Plaintiff, as they also produce and sell

20. Defendants created, produced, distributed and sold greeting cards that

ll and trading off of, Plaintiff’s Mark. Defendants produced and sold these greeting

12 cards throughout the United States, including Califomia.
13 21. Defendants’ unlawful use of Plaintiff s trademark and their unfair

14 competition enabled them to reap financial success, as Defendants produced and

15 sold greeting cards in various formats, all with derivations of Plaintiff" s trademark.

16 On information and belief, Defendants’ sales of the infringing cards were
17 substantial, as the cards were sold in numerous retail stores throughout the

18 country.

19 22. In producing and selling the infringing cards, Defendants intended to

20 capitalize on Plaintiff's Mark, trample upon his intellectual property rights, and

21 cause customer confusion in the process. Actual customer confusion occurred, as

22 Plaintiff (i.e., Randall) received inquiries from his admirers who asked Plaintiff
23 whether the greeting cards were his own. The cards were not authorized by
24 Plaintiff, though they misleadineg appeared to be.

25 23. Defendants’ intentional and deceitful acts of unfair competition and
26 use of the Mark have caused confusion, and are likely to do so in the future, and
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COMPLA[NT AND DEMAND FOR JURY TRIAL

 

 

Case il.:15-cv-O4905-.]FW-PLA Document 1 Filed 06/30/15 Page 8 of 19 Page |D #:8

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have caused mistake and deception as to the affiliation or association of the
Defendants with Plaintiff, and as to the origin, sponsorship, or approval of the
Defendants’ goods by Plaintiff, Plaintiff has neither authorized nor consented to
the use by Defendants of the Mark, any colorable imitation of it, or any mark
confusineg similar to it.

24. Plaintiff is informed and believes, and thereon alleges, the
Defendants’ purpose in utilizing the Mark is an attempt to benefit unfairly from the
valuable goodwill and extreme popularity of the Mark, which was established at
great expense and effort by Plaintiff.

FIRST CLAIM
(Trademark Infringement under 15 U.S.C. §1114 et seq. Against All
Defendants)

25. Plaintiff repeats, repleads and realleges the allegations contained in
Paragraphs 1 through 24, as though fully set forth herein.

26. The aforesaid acts of Defendants constitute infringement of the Mark
under 15 U.S.C. §1114 etseq.

27. As a direct and proximate result of Defendants’ wrongful acts,
Plaintiff has suffered and continues to suffer and.for is likely to suffer damage to
his trademark, reputation, and goodwill. Defendants will continue to use the Mark
and will cause irreparable damage to Plaintiff, Plaintiff has no adequate remedy at
law and is entitled to an injunction restraining Defendants and their officers,
agents, employees, and all persons acting in concert with them, from engaging in
further acts of infringement

28. Plaintiff is further entitled to recover from Defendants the actual
damages that he sustained and/or is likely to sustain as a result of Defendants’

wrongful acts. Plaintiff is presently unable to ascertain the full extent of the

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

Case "2:15-cv-O4905-.]FW-PLA Document 1 Filed 06/30/15 Page 9 of 19 Page |D #:9

l monetary damages that he has sustained andi'or is likely to sustain by reason of
Defendants’ acts of trademark infringement

29. Plaintiff is further entitled to recover from Defendants the gains,

advantages that Defendants have realized by reason of their acts of trademark
infringement

30. Because of the willful nature of the wrongful acts of Defendants,
Plaintiff is entitled to all remedies available under 15 U.S.C. §§1 117 and 1118,
10 including but not limited to an award of treble damages and increased profits
11 pursuant to 15 U.S.C. §1117.

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profits, and advantages that Defendants have obtained as a result of their wrongful

acts, Plaintiff is presently unable to ascertain the extent of the gains, profits, and

12 31. Plaintiff also is entitled to recover his attorneys’ fees and costs of suit

13 pursuant to 15 U.S.C. §1117.
14 SECOND CLAIM

15 (Trademark Infringement under California Business and Professions Code

16 section 14245 et seq. and California Common Law Against All Defendants)

17 32. Plaintiff repeats, repleads and realleges paragraphs l through 31,

18 inclusive, of this Complaint and incorporates the same herein by the reference as

19 though set forth in full.

20 33. Defendants’ use of the Mark without Plaintiff’s consent constitutes

21 trademark infringement and unfair competition in violation of Califomia common

22 law in that, among other things, such use is likely to cause confusion, deception,

23 and mistake among the consuming public as to the source, approval or sponsorship

24 of the goods offered by Defendants

25 34. The acts and conduct of Defendants complained of herein constitute

26 trademark infringement and unfair competition in violation of the statutory law of

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

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15-cV-O4905-.]FW-PLA Document 1 Filed 06/30/15 Page 10 of 19 Page |D #:10

California, including California Business and Professions Code section 14245 er
seq., in that, among other things, Defendants’ acts and conduct are likely to cause
confusion, deception, and mistake among the consuming public as to the source,
approval or sponsorship of the goods offered by Defendants Defendants’ acts are
designed to trade upon Plaintiff‘s reputation and goodwill by causing confusion
and mistake among consumers and the public. Plaintiff is entitled to preliminary
and permanent injunctions restraining and enjoining Defendants and their officers,
agents, affiliates, vendors, partners and employees, and all persons acting in
concert with Defendants, from using in commerce Plaintiff’s federally registered
Mark and its derivations and his common law rights in same.

35. As a direct and proximate result of Defendants’ willful and
intentional actions, Plaintiff has suffered damages in an amount to be determined
at trial. Plaintiff is entitled to all remedies provided by California Business and
Professions Code section 14247 et seq., including injunctive relief and recovery of
three times Defendants’ profits and damages suffered by reason of their wrongful
conduct. Because of the willful nature of Defendants’ wrongful acts, Plaintiff is
entitled to an award of punitive damages

THIRD CLAIM
(Federal Unfair Competition and False Designation of Origin in Violation of
15 U.S.C. §1125(a) Against All Defendants)

36. Plaintiff repeats, repleads and realleges the allegations contained in
Paragraphs 1 through 35, as though fully set forth herein.

37. Defendants’ acts as alleged above constitute unfair competition and a
false designation of origin which have caused confusion, mistake, deception as to
the affiliation, connection or association of Defendants with Plaintiff and as to the

origin, sponsorship, or approval of Defendants’ goods, services and/or activities

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

Case 2"15-cv-O4905-.]FW-PLA Document 1 Filed 06/30/15 Page 11 of 19 Page |D #:11

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by Plaintiff and are likely to do so in the future, in violation of the Lanham Act, 15
U.S.C. §l 125(a).

38. As a direct and proximate result of Defendants’ wrongful acts,
Plaintiff has suffered and continues to suffer and is likely to suffer damage to his
reputation, goodwill, and to the Mark. Defendants will continue the activities
alleged herein and will cause irreparable damage to Plaintiff, Plaintiff has no
adequate remedy at law and is entitled to an injunction restraining Defendants,
their officers, agents, affiliates vendors partners and employees and all persons
acting in concert with Defendants, from engaging in further acts of unfair
competition, deceitful acts using the Mark, and false designation of origin and
false affiliation and association

39. Plaintiff is further entitled to recover from Defendants the actual
damages that he sustained and/or is likely to sustain as a result of Defendants’
wrongful and devious acts Plaintiff is presently unable to ascertain the full extent
of the monetary damages that he has suffered andior is likely to sustain by reason
of Defendants’ acts of unfair competition and false designation of origin and false
affiliation and association.

40. Plaintiff is ti.rrther entitled to recover from Defendants the gains,
profits, and advantages they have obtained as a result of their wrongful and
malicious acts, Plaintiff is presently unable to ascertain the extent of the gains,
profits, and advantages that Defendants have realized by reason of their acts of
unfair competition and false designation of origin and false affiliation and
association.

4l. Because of the willful nature of the wrongful acts of Defendants,
Plaintiff is entitled to an award of treble damages and increased profits pursuant to
15 U.S.C. §1117.

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

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42. Plaintiff is also entitled to recover his attorneys’ fees and costs of suit

pursuant to 15 U.S.C. §1117.
FOURTH CLAIM
(Unfair Competition Against All Defendants)

43. Plaintiff repeats, repleads and realleges paragraphs 1 through 42,
inclusive, of this Complaint and incorporates the same herein by the reference as
though set forth in full.

44. Defendants’ actions constitute unfair competition under the statutory
law of California, including California Business and Professions Code section
17200, et seq., and under the common law of the State of Califomia.

45. The acts and conduct of Defendants complained of herein have
caused Plaintiff irreparable injury, and will, unless retrained, further impair the
value of his Mark, intellectual property rights, reputation, and goodwill. Plaintiff
has no adequate remedy at law.

46. Plaintiff is informed and believes that Defendants have unlawfully
obtained profits through their acts of unfair competition. Defendants should be
forced to disgorge such unlawful profits to Plaintiff,

47. Plaintiff is further entitled to recover from Defendants his actual
damages sustained as a result of Defendants’ wrongful acts Plaintiff is presently
unable to ascertain the full extent of the monetary damages he has suffered by
reason of Defendants’ acts of unfair competition.

48. Because of the willful nature of Defendants’ wrongful acts, Plaintiff
is entitled to an award of punitive damages
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COMPLAINT AND DEMAND FOR JURY TRIAL

 

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PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for judgment against Defendants and each
of them as follows:

l. That Defendants have (i) infringed the Mark under 15 U.S.C. §1114
et seq.; (ii) infringed the Mark under California law; and (iii) engaged in unfair
competition, and violated California Business and Professions Code section 17200
et seq.

2. That each of the above acts were willfill.

3. That Plaintiff be awarded (i) all profits of Defendants, (ii) all of his
damages, (iii) statutory damages available under the law including 15 U.S.C.

§1 117, if elected, (iv) treble damages, (v) punitive damages, (vi) disgorgement and
restitution of all benefits received by Defendants arising from their infringement
as provided by law, andfor (vii) enhanced damages for Defendants’ willful
infringement as provided in 15 U.S.C. §111'7, the sum of which will be proven at
the time of trial.

4. That Defendants, their officers, agents, servants, affiliates, partners,
vendors, employees and attorneys, and those persons in active concert or
participation with them, be preliminarily and permanently enjoined from:

a. Using Plaintiff"s expression and mark “HONEY BADGER
DON’T CARE” or any colorable imitation thereof, or any other
expression or mark likely to cause confusion, mistake, or
deception, in connection with the sale, offering for sale,
distribution, manufacturing, advertising, or promotion of their
goods or services;

b. Using any false designation of origin or false description that

can, or is likely to, lead the public to believe that any product

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

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15-cV-O4905-.]FW-PLA Document 1 Filed 06/30/15 Page 14 of 19 Page |D #:14

manufactured, distributed, sold, offered for sale, or advertised
by Defendant are in any manner associated or connected with
Plaintiff is sold, manufactured, licensed, sponsored, or
approved or authorized by Plaintiff; and

c. Engaging in any other activity constituting an infringement of
Plaintiffs trademark rights or otherwise unfairly competing
with Plaintiff.

5. That Defendants be directed to deliver up to Plaintiff all products
bearing the Mark, any copy, simulation, variation or colorable imitations of the
Mark, and any documents or tangible things that discuss, describe, mention or
relate to such products

6. That Defendants file with the Court and serve upon Plaintiff’ s
counsel within thirty (30) days after entry of judgment a report in writing under
oath setting forth in detail the manner and form in which Defendants have
complied with the requirements of the injunction.

7. That Defendants be required to pay to Plaintiff all of his costs,
disbursements and attorney’s fees in this action.

8. For prejudgment interest.

9. For such other relief as the Court deems proper.

DATED: June 29, 2015 KRANE & SMITH, APC

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DANIEL L. REBACK
Attorne s for Plaintiff,
CHRIS OPHER GORDON

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COMPLAINT AND DEMAND FOR JURY TRIAL

 

 

Case 2:15-cv-O4905-.]FW-PLA Document 1 Filed 06/30/15 Page 15 of 19 Page |D #:15

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HONEY BADGER DON'T CARE

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EXHIBIT A

Case 2:15-cv-O4905-.]FW-PLA Document 1 Filed 06/30/15 Page 16 of 19 Page |D #:16

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United States Patent and Traderrrark Offt'ce ltd

HONEY BADGER DON'T CARE

Reg. No. 4,281,472
Registered Jan. 29, 2013
Int. Cl.: 21

TRADEMARK
PRINC|PAL REG|STER

 

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CHR.ISTOI‘H|:R Z. GORDON (UNITED STATES INDIVIDUAL)

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FOR MUGS, lN CLASS 21 (U S.CLS.2.13.23.29. 30, 33, 40AND 50)
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1 DEMAND FOR JURY TRIAL
2 Plaintiff CHRISTOPHER GORDON hereby demands a jury trial in this
3 " action.
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5 DATED: June 29, 2015 KRANE & SMITH, APC
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